      Case 2:23-cv-02107-WSH               Document 40    Filed 12/17/24    Page 1 of 43




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

YAEL CANAAN,                                      )
                                                  )
                              Plaintiff,          )
                                                  )
               v.                                 )   Civil Action No. 23-2107
                                                  )
CARNEGIE MELLON UNIVERSITY,                       )
                                                  )
                              Defendant.          )


                                  MEMORANDUM OPINION

       Plaintiff Yael Canaan’s (“Ms. Canaan”) Complaint against Carnegie Mellon University

(“CMU” or the “University”) asserts that the University harbors a culture of antisemitism and that

she—as a Jewish student—endured a campaign of antisemitic abuse by CMU’s faculty and

administration in violation of Title VI of the Civil Rights Act of 1964 (“Title VI”), 42 U.S.C.

§ 2000D, and in breach of CMU’s own contractual policies. (Docket No. 1). Ms. Canaan’s

allegations are organized into five claims for: direct discrimination, hostile educational

environment, and retaliation, all in violation of Title VI; breach of contract; and intentional

infliction of emotional distress. (Id.). CMU now moves to dismiss these claims in their entirety

pursuant to Federal Rule of Civil Procedure 12(b)(6). (Docket No. 19). The parties have fully

briefed the matter (Docket Nos. 20, 29, 33), and the Court held oral argument on CMU’s motion

on August 20, 2024. (Docket Nos. 38, 39). For the reasons set forth herein, CMU’s motion will

be granted in part and denied in part.
         Case 2:23-cv-02107-WSH             Document 40         Filed 12/17/24        Page 2 of 43




    I.      FACTUAL BACKGROUND 1

         Ms. Canaan is a 23-year-old Jewish-American woman of Israeli descent who attended the

School of Architecture at CMU beginning in 2018 until she graduated in 2023. (Docket No. 1, ¶¶ 2,

12, 94). CMU is a private university located in Pittsburgh, Pennsylvania. The annual cost of

attendance at CMU is $83,697, it has an endowment of approximately $3 billion, and it received a

total of approximately $1.753 billion in federal funding over the course of Ms. Canaan’s

attendance. 2 (Id. ¶¶ 2, 12-13). Jewish students comprise 5.5 percent of CMU’s undergraduate

population. (Id. ¶ 13).

         CMU touts a commitment to fighting discrimination. (Id. ¶ 1). According to its Statement

of Assurance, CMU “does not discriminate in . . . administration of its programs or activities on the

basis of race, color, national origin, sex, handicap or disability, age, sexual orientation, gender

identity, religion, creed, ancestry, belief, veteran status, or genetic information.” (Id. ¶¶ 1, 76).

CMU’s Procedures for Alleged Violations of the Statement of Assurance (hereinafter

“Procedures”) provide that upon receiving a report of discrimination, various offices, including

CMU’s Office for Institutional Equity and Title IX, decide whether “to initiate a formal complaint

based on a report received ... or other information that comes to the attention of the Office.” (Id.

¶ 83). The Procedures also provide that upon receiving a report of discrimination “that could

constitute a violation of both the Statement of Assurance and another university policy or policies,

the university, in its discretion, will determine which policy or policies and procedures apply and


1
        At this stage of the case, the factual allegations set forth in the Complaint must be taken as true and
viewed in the light most favorable to Ms. Canaan. Accordingly, the fact summary herein is drawn from Ms.
Canaan’s Complaint, with all allegations drawn in the light most favorable to her. Warren Gen. Hosp. v.
Amgen Inc., 643 F.3d 77, 84 (3d Cir. 2011).
2
       Ms. Canaan also alleges that CMU maintains a campus in Doha, Qatar. Qatar has provided CMU
with more than one-half billion dollars in funding from 2004 to 2019. (Docket No. 1, ¶¶ 13, 24).


                                                      2
      Case 2:23-cv-02107-WSH            Document 40        Filed 12/17/24      Page 3 of 43




whether action will be taken under multiple policies.” (Id.). The Procedures further provide that

“[a]fter a formal complaint is filed, the Office for Institutional Equity and Title IX will review the

formal complaint to determine whether the alleged misconduct, if true, would meet the definition

of Discriminatory Conduct,” and if the Office finds that the definition is not met, the complaint

“will be dismissed but, when appropriate, referred for review under another applicable university

policy, including the University’s Bias protocol, and may merit university response through

education, informal mediation, etc.” (Id.).

       CMU’s Office of Institutional Equity and Title IX promises in its Title IX Resource Guide

that it will “review and document” a student’s report of discrimination, “attempt to contact the

impacted party to offer support, resources and information about options,” and “in general, follow

the impacted party’s wishes about next steps, including if the University takes any action, such as

notifying the party accused of misconduct and whether to investigate the concerns.” (Id. ¶ 79).

The Title IX Resource Guide also provides that “supportive measures are available to all parties

regardless of whether a person chooses to pursue an investigation, alternative resolution, a formal

resolution, or chooses not to pursue any further process.” (Id.). The Title IX Resource Guide

describes ten “supportive measures … available to all parties regardless of whether a person

chooses to pursue an investigation, alternative resolution, a formal resolution, or chooses not to

pursue any further process.” (Id. ¶ 81). These measures include:

           •   Academic support services and accommodations;
           •   Academic schedule modifications (typically to separate parties);
           •   Work schedule or job assignment modifications (for university employment);
           •   Changes in on-campus work or university housing location;
           •   On-campus counseling services and/or assistance in connecting to community-based
               counseling services;
           •   Assistance in connecting to community-based medical services;
           •   No contact agreements (agreements between parties to stop communication or other
               interaction with one another);


                                                  3
       Case 2:23-cv-02107-WSH             Document 40       Filed 12/17/24       Page 4 of 43




              •   Temporarily limiting an individual’s access to certain university facilities or
                  activities;
              •   Information about and/or assistance with obtaining personal protection orders;
              •   Leaves of absences;
              •   Increased monitoring and security of certain areas of the campus;
              •   When appropriate, escort/transportation assistance; or
              •   A combination of any of these measures.

(Id. ¶ 81).

        CMU also maintains a Policy Against Retaliation, which provides:

                  It is the policy of [CMU] to protect from retaliation any individual
                  who makes a good faith report of a suspected violation of any
                  applicable law or regulation, university Policy or procedure, any
                  contractual obligation of the university, and any report made
                  pursuant to section 9 of the [CMU] Code of Business Ethics and
                  Conduct. [CMU] faculty, staff, and students shall not in any way
                  intimidate, reprimand or take retaliatory action against any
                  individual who makes a good faith report of a suspected violation.
                  Individuals who violate this policy shall be subject to appropriate
                  disciplinary action, up to and including dismissal from the
                  university.

(Id. ¶ 77).

        These policies and procedures are administered and implemented by a cadre of CMU’s

officials who are specifically charged with enforcing CMU’s anti-discrimination policies and

protecting students from discrimination. (Id. ¶¶ 4, 69). These officials include: Gina Casalegno,

CMU’s Vice President for Student Affairs and Dean of Students; Wanda Heading-Grant, CMU’s

Chief Diversity Officer and Vice Provost of Diversity, Equity and Inclusion (“DEI”); Erica Cochran

Hameen, CMU’s School of Architecture Director of DEI 3; Mandy Best, who helps lead CMU’s

Religious and Spiritual Life initiatives; and Elizabeth Rosemeyer, CMU’s Title IX Coordinator and

Assistant Vice Provost for DEI. (Id. ¶¶ 4, 17, 21, 27, 30, 44, 69, 83). Ms. Canaan avers that CMU



3
       Director Hameen is also a professor and serves as faculty advisor to the National Organization of
Minority Architects Students. (Id. ¶ 21).


                                                   4
      Case 2:23-cv-02107-WSH             Document 40         Filed 12/17/24       Page 5 of 43




officials were fully aware of her well-founded reports that faculty cruelly abused and systematically

discriminated against her for almost a year, and yet took no action. (Id. ¶ 69). Ms. Canaan also

avers that faculty members retaliated against her for reporting her concerns when they participated

in, condoned, or otherwise permitted discrimination and retaliation to continue unabated. (Id.

¶¶ 28-29, 31-35, 38-39, 41-43, 46, 47-75, 82-84, 92, 125-140).

       Ms. Canaan first informed CMU officials of her concerns regarding antisemitism she

experienced on CMU’s campus in May 2021 when the president of a student group posted a

message in a 5,700-member Facebook group “explicitly calling out the Jewish community and

involving them in the tensions and aggressions” related to a battle that was happening at that time

in Israel and Gaza. (Id. ¶ 16). This post contained screenshots of internal emails from CMU’s

Jewish community that made it easy to identify Jewish students—including Ms. Canaan—through

their affiliations with Jewish organizations on campus, putting their physical safety at risk. (Id.).

This post calling out the Jewish community and specifically identifying certain Jewish students

frightened Ms. Canaan and prompted her to email Dean of Students Casalegno and CMU’s

President, Farnam Jahanian, to express her concerns and to note that Jewish students “no longer

[felt] safe on this campus.” (Id. ¶¶ 16-17). Dean Casalegno and Mandy Best responded with

expressions of their “sympathies” and held a Zoom meeting for students to express their feelings,

but otherwise took no actions to address Ms. Canaan’s concerns about the antisemitic climate on

campus and the physical safety of Jewish students. (Id.).

       Approximately one year later, Ms. Canaan was taking one of her required studio classes 4

where students receive hands-on, practical instruction in architectural design, making models and

applying lessons learned in their other classes. (Id. ¶ 19). These studio classes typically involve


4
       Ms. Canaan was required to take 8-9 hours of studio classes per week. (Id. ¶ 19).


                                                   5
       Case 2:23-cv-02107-WSH              Document 40          Filed 12/17/24       Page 6 of 43




small groups, open discussions, and one-on-one meetings with professors. (Id. ¶ 20). Students

receive critically important feedback individually as well as in small group and class-wide settings.

(Id.). On May 5, 2022, Ms. Canaan had the final review for her semester-long studio class project,

which was a model she designed depicting the conversion of a public space in a New York City

neighborhood into a private space through an eruv (i.e., an integral feature 5 of neighborhoods with

large devout Jewish populations). In response to questions, Ms. Canaan was explaining the concept

of an eruv to Mary-Lou Arscott, 6 Professor and Associate Head for Design Fundamentals at the

School of Architecture (“Professor Arscott”), when Professor Arscott cut Ms. Canaan off and told

her that “the wall in the model looked like the wall Israelis use to barricade Palestinians out of

Israel,” and that the time Ms. Canaan had used to prepare her project “would have been better spent

if [Ms. Canaan] had instead explored ‘what Jews do to make themselves such a hated group.’” (Id.

¶¶ 2, 19-25).

        Ms. Canaan immediately reported Professor Arscott’s statements to her studio professor at

the time, but that professor merely told her not to worry because Professor Arscott would not be

grading her. (Id. ¶ 26). Ms. Canaan left class demoralized, shaken and afraid, but later that same



5
         Plaintiff’s Complaint describes an eruv as a “small wire boundary that symbolically extends the
private domain of devoutly religious Jewish households into public areas, permitting activities within it that
are normally forbidden in public on the Sabbath.” (Docket No. 1, ¶ 23).
6
         Plaintiff avers that in her first semester at CMU, Professor Arscott denied without explanation her
request for an extension on an assignment so that she could attend a memorial service for the victims of the
then-recent and nearby Tree of Life Synagogue shooting that resulted in the murder of 11 Jews and critical
injuries to two more while they all engaged in Shabbat prayers. (Docket No. 1, ¶¶ 14-15). Plaintiff also
avers that Professor Arscott has spent professional time in Qatar where CMU maintains a campus and from
whom CMU has received more than one-half billion dollars in funding. (Id. ¶¶ 13, 24). Plaintiff additionally
contends that Qatar “shelters and protects antisemitic, anti-Jewish, and anti-Israel terrorist organizations.”
(Id. ¶ 24). Plaintiff’s Complaint references studies indicating that Qatar has funded, protected, and
disseminated Islamist extremist ideology and organizations around the globe, and that Qatar has exerted
influence on CMU through its sizable donations such that CMU officials have been incentivized not to
address antisemitic incidents so as not to jeopardize its lucrative relationship with Qatar. (Id. ¶¶ 70-73).


                                                      6
      Case 2:23-cv-02107-WSH           Document 40        Filed 12/17/24      Page 7 of 43




day she texted and then spoke with School of Architecture Director of DEI Erica Cochran Hameen,

telling her she had a professor “be blatantly antisemetic [sic] during my review today.” (Id. ¶¶ 26-

27). Director Hameen assured Ms. Canaan that she would speak to Professor Arscott, but neither

Director Hameen nor anyone else from CMU’s DEI Office ever followed up with Ms. Canaan. (Id.

¶ 29). After Director Hameen’s failure to follow-up, Ms. Canaan emailed Dean Casalegno, and

copied Chief Diversity Officer and Vice Provost of DEI Wanda Heading-Grant, to provide a report

of the incident and to demand a thorough investigation and meaningful response. (Id. ¶ 30). Two

days later, Dean Casalegno responded to Ms. Canaan writing dismissively that she was sorry to

read her “reflections” and then referred Ms. Canaan to her secretary for scheduling. (Id. ¶¶ 31-32).

Ms. Canaan set the appointment for May 18, 2022, but Dean Casalegno broke that appointment

blaming her secretary for inaccurately keeping her schedule. (Id. ¶ 32). That meeting went forward

on Zoom in Dean Casalegno’s absence though Vice Provost Heading-Grant showed up, albeit late

and unprepared. (Id. ¶ 33). Ms. Canaan told Vice Provost Heading-Grant she wanted an apology

from Professor Arscott and for Professor Arscott to have antisemitism training. (Id.). Vice Provost

Heading-Grant said she would be in touch to follow up. (Id.).

       Ms. Canaan finally met with Dean Casalegno on June 13, 2022, in a further effort to seek

action in response to her complaint. (Id. ¶ 34). Dean Casalegno offered to go for a “casual walk”

with Professor Arscott, her close personal friend, even though Ms. Canaan protested that a casual

walk would be an insufficient response. (Id.). Dean Casalegno informed Ms. Canaan that she

would follow up after their “casual walk.” (Id.). More than a month later Dean Casalegno still had

not taken any action or spoken with Professor Arscott; she updated Ms. Canaan on July 28, 2022,

only to tell her that she had not yet talked to Professor Arscott but that she would do so at some

point in August. (Id. ¶ 35). Then, on August 18, 2022, Dean Casalegno emailed Ms. Canaan to



                                                 7
      Case 2:23-cv-02107-WSH             Document 40        Filed 12/17/24       Page 8 of 43




inform her that she had a “thoughtful conversation” with Professor Arscott, and that Vice Provost

Heading-Grant would be in touch to arrange a meeting between Ms. Canaan and Professor Arscott

that would be facilitated by Heading-Grant. (Id. ¶¶ 36-37).

       More than two months later—which was approximately six months after Professor Arscott

had directed offensive comments at Ms. Canaan in Ms. Canaan’s studio class—CMU’s

administration finally scheduled a meeting with Ms. Canaan and Professor Arscott over Zoom on

November 2, 2022. (Id. ¶ 37). The Complaint describes this Zoom meeting as an unproductive

endeavor: the meeting took place, but Vice Provost Heading-Grant said and did nothing as

facilitator, Professor Arscott refused to apologize and showed no remorse, and, further, Professor

Arscott referenced and subsequently emailed contents of a blog titled “The Funambulist” to Ms.

Canaan and Vice Provost Heading-Grant. (Id. ¶ 38). Professor Arscott urged Ms. Canaan to read

the contents of The Funambulist that she linked in the email because it provided her with “insightful

… perspective.” (Id.). According to the Complaint, The Funambulist contains anti-Jewish and

anti-Israel content, including, among other things, the promotion of pictures of terrorist

organizations throwing Molotov cocktails at Jewish people and articles with titles such as “Israeli

Apartheid” and “Israeli Police: The Daily Practice of Collective Punishment Against Palestinians.”

(Id. ¶¶ 2, 37-40). A sample passage from one article, dated April 8, 2022, that could be considered

particularly pertinent to Ms. Canaan’s circumstances and Professor Arscott’s refusal to apologize

reads: “[Y]ou never make concessions to the oppressor. If you’re going to get punished, and you

might, if you piss off Zionists, it’s always a possibility, right, then stare the oppressor in the face,

and take whatever punishment is coming. Don’t concede, don’t start apologizing …. The

Palestinians aren’t backing down, nor should we … [we] do not make concessions to the

oppressor.” (Id. ¶ 39).



                                                   8
         Case 2:23-cv-02107-WSH        Document 40       Filed 12/17/24      Page 9 of 43




         After receiving this email, Ms. Canaan promptly emailed both Vice Provost Heading-Grant

and Dean Casalegno to report Professor Arscott’s communication with the attached link to The

Funambulist, to say not only that receiving these materials from Professor Arscott was extremely

upsetting, but also that the email demonstrated that Professor Arscott was unremorseful, and leads

Jewish students to being uncomfortable on campus. (Id. ¶ 41). Vice Provost Heading-Grant

responded days later in language that ignored the problem and discredited Ms. Canaan’s complaint,

claiming she lacked “context” despite previously having received an email from Ms. Canaan

reporting Professor Arscott’s antisemitic in-class comments, having attended the Zoom meeting at

which Professor Arscott refused to apologize for her antisemitic comments mere days beforehand,

and having been copied on Professor Arscott’s email to Ms. Canaan that urged her to read the linked

The Funambulist material that Professor Arscott referenced during their Zoom meeting. (Id. ¶¶ 30,

38, 42).

         After another week elapsed, on November 13, 2022, Vice Provost Heading-Grant replied

again.     (Id. ¶ 43). Despite being CMU’s Vice Provost for DEI and its Chief Diversity Officer,

Heading-Grant stated there was nothing she could do and that, if Ms. Canaan felt aggrieved, she

could contact CMU’s Office for Institutional Equity and Title IX. (Id.).     Ms. Canaan opted to

pursue that course of action, set up a meeting with the Title IX Coordinator and Assistant Vice

Provost for DEI, Elizabeth Rosemeyer, and attended that meeting on November 21, 2022. (Id.

¶¶ 44, 46). At the meeting, Ms. Canaan sobbed while recounting, yet again, her experience with

Professor Arscott and CMU’s administration. (Id. ¶ 46). In response, Assistant Vice Provost

Rosemeyer aggressively discouraged Ms. Canaan from filing a formal complaint to trigger: an

investigation of Professor Arscott’s comments; the DEI Office’s failure to address the misconduct;

and systemic antisemitism at CMU. (Id.). Assistant Vice Provost Rosemeyer explained to Ms.



                                                9
     Case 2:23-cv-02107-WSH            Document 40       Filed 12/17/24      Page 10 of 43




Canaan that a formal complaint would take too long, that it would require extensive work on both

of their parts, that there would be no resolution prior to her graduation, and even if there were

resolution it would result in a slap on the wrist for Professor Arscott at most. (Id.). Ms. Canaan

conceded to Assistant Vice Provost Rosemeyer’s pressure insofar as she did not file a formal

complaint, but she reiterated her request for an apology from Professor Arscott and for Professor

Arscott to undergo antisemitism training. (Id.). Yet, several weeks later, Assistant Vice Provost

Rosemeyer still had not raised the topic of an apology with Professor Arscott. (Id.).

       In addition to her averments concerning the CMU staff discussed above, Ms. Canaan also

avers that Professor Theodossis Issaias, a personal friend loyal to Professor Arscott, also harbored

unlawful animus towards her. (Docket No. 1, ¶¶ 48-63). According to Ms. Canaan, she sought out

Professor Issaias to assist and guide her concerning the antisemitic treatment she had endured due

to Professor Arscott’s statements and actions, but Professor Issaias nevertheless invited Ms.

Canaan’s entire class to a party at Professor Arscott’s home. (Id. ¶ 50). When Ms. Canaan

expressed how disturbed she was by the location of this social gathering, Professor Issaias told Ms.

Canaan that “breaking bread is a process of reconciliation,” Ms. Canaan needed to stop “acting like

a victim,” he was “not there to fight her battles for her,” Ms. Canaan was “calling all of us

antisemites,” and that he “cannot be an advocate for the Jews.” (Id. ¶¶ 49-50). Professor Issaias

then became aggressive toward Ms. Canaan in front of her classmates—so much so that several

classmates asked Ms. Canaan what she had done to draw his ire—and he refused to work with Ms.

Canaan, including for critical one-on-one attention that he gave to all of Ms. Canaan’s classmates

in the architecture program’s practical skills studio coursework, thereby causing her to lose

individualized feedback. (Id. ¶¶ 51-58).    Professor Issaias gave Ms. Canaan a C in his 18-unit

studio class—the lowest studio grade Ms. Canaan ever received at CMU—which prevented her



                                                10
      Case 2:23-cv-02107-WSH           Document 40        Filed 12/17/24      Page 11 of 43




from receiving an Honors degree and put her scholarship at risk. (Id.). Professor Issaias also gave

Ms. Canaan a lower grade than classmates in her same group for a group project. (Id. ¶ 54).

       Ms. Canaan further avers that Professor Priyanka Bista retaliated against her after learning

that Ms. Canaan had reported Professor Arscott’s antisemitic activities. Professor Bista is a junior

studio professor who was assigned to teach the most important class in Plaintiff’s program. (Id.

¶¶ 59, 60, 62). When Ms. Canaan learned that Professor Bista arranged for Professor Arscott to be

present for that class every other week for studio review, Ms. Canaan informed Professor Bista that

she had been subject to antisemitic abuse by Professor Arscott, that she had reported Professor

Arscott, and that she felt unsafe around Professor Arscott. (Id. ¶¶ 59-60). At first, Professor Bista

refused any accommodation and noted that she could neither raise the issue with Professor Arscott,

nor ask her not to attend classes because Professor Bista owed her own employment at CMU to

Professor Arscott. (Id.). Professor Bista ultimately offered to review Ms. Canaan’s work before

Professor Arscott arrived to review the other students’ work, meaning that Ms. Canaan could only

stay for a small portion of these four-hour studio-review classes. (Id.). And, because Professor

Arscott could and did arrive at those classes at any time, Ms. Canaan missed most of the classes

that semester and was forced to give her mid-semester presentation over Zoom rather than in-

person. (Id. ¶¶ 60-61). Ms. Canaan contends that her forced absence from this important class

created a clear divide, separating her from peers both socially and educationally. (Id. ¶ 62). And,

while Ms. Canaan ultimately graduated from the program, she became depressed, suffered severe

migraines, missed opportunities to have her work showcased, and ultimately did not pursue a career

in architecture. (Id. ¶¶ 74-75).

       Ms. Canaan thereafter brought this suit alleging that the conduct described herein constitutes

direct discrimination (Count I), a hostile educational environment (Count II), and retaliation (Count



                                                 11
      Case 2:23-cv-02107-WSH            Document 40         Filed 12/17/24      Page 12 of 43




III), all in violation of Title VI, as well as breach of contract (Count IV) and intentional infliction

of emotional distress (Count V). She seeks judgment with money damages, punitive damages,

injunctive relief, attorney fees, and any other appropriate relief. CMU’s motion to dismiss the

Complaint in its entirety pursuant to Federal Rule of Civil Procedure 12(b)(6) is pending and ripe

for adjudication at this time.

   II.      STANDARD OF REVIEW

         In considering a Rule 12(b)(6) motion to dismiss, the factual allegations contained in the

complaint must be accepted as true and must be construed in the light most favorable to the plaintiff;

the Court must also “determine whether, under any reasonable reading of the complaint, the plaintiff

may be entitled to relief.” Phillips v. County of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008)

(quoting Pinker v. Roche Holdings Ltd., 292 F.3d 361, 374 n.7 (3d Cir. 2002)); see Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 563 n.8 (2007). While Federal Rule of Civil Procedure 8(a)(2)

requires only “a short and plain statement of the claim showing that the pleader is entitled to relief,”

the complaint must “give the defendant fair notice of what the . . . claim is and the grounds upon

which it rests.” Phillips, 515 F.3d at 231 (quoting Twombly, 550 U.S. at 555). Moreover, while this

standard does not require “detailed factual allegations,” Rule 8 “demands more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citing Twombly, 550 U.S. at 555).

         To survive a motion to dismiss, “a complaint must contain sufficient factual matter, accepted

as true, to ‘state a claim to relief that is plausible on its face.’” Id. (quoting Twombly, 550 U.S. at

570). The Supreme Court has noted that a “claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable for

the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). The standard “‘does not impose a



                                                  12
      Case 2:23-cv-02107-WSH             Document 40        Filed 12/17/24      Page 13 of 43




probability requirement at the pleading stage,’ but instead ‘simply calls for enough facts to raise a

reasonable expectation that discovery will reveal evidence of’ the necessary element.” Phillips,

515 F.3d at 234 (quoting Twombly, 550 U.S. at 556). The requirement that a court accept as true

all factual allegations does not extend to legal conclusions; thus, a court is “not bound to accept as

true a legal conclusion couched as a factual allegation.” Iqbal, 556 U.S. at 678 (quoting Twombly,

550 U.S. at 555).

   III.      DISCUSSION

          A. Direct Discrimination in Violation of Title VI

          At Count I, Ms. Canaan avers that CMU discriminated against her because she is Jewish

and of Israeli descent in violation of Title VI. (Docket No. 1, ¶¶ 95-111). In response, CMU

contends that Ms. Canaan has not pled sufficient facts to establish the fourth element of her prima

facie case for this claim. The Court disagrees.

          Title VI provides that “[n]o person in the United States shall, on the ground of race, color,

or national origin, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any program or activity receiving Federal financial assistance.” 42 U.S.C.

§ 2000d.      Compensatory damages are not recoverable under Title VI unless intentional

discrimination is established. Blunt v. Lower Merion Sch. Dist., 767 F.3d 247, 272 (3d Cir. 2014);

Astaraee v. Villanova Univ., 509 F. Supp. 3d 265, 270 (E.D. Pa. 2020); Katchur v. Thomas Jefferson

Univ., 354 F. Supp. 3d 655, 665 (E.D. Pa. 2019). Intentional discrimination may be established by

showing deliberate indifference without satisfying a higher burden of proving spite, ill-will, or other

indicia of animus. Blunt, 767 F.3d at 272 (“Recently, we held that plaintiffs bringing claims under

the ADA and RA may establish intentional discrimination with a showing of deliberate

indifference. Given the parallels between Title VI and the statutes at issue in S.H., our rationale for



                                                   13
      Case 2:23-cv-02107-WSH              Document 40         Filed 12/17/24        Page 14 of 43




adopting deliberate indifference as a form of intentional discrimination in S.H. applies with equal

force in the Title VI context.” (citing S.H. v. Lower Merion Sch. Dist., 729 F.3d 248, 263 (3d Cir.

2013))). Accordingly, a plaintiff may establish intentional discrimination through the deliberate

indifference standard by showing that an educational institution had knowledge that a federally

protected right is substantially likely to be violated yet failed to act despite that knowledge. S.H.,

729 F.3d at 265. 7 Additionally, a Title VI violation may be established by direct or circumstantial

evidence. 8 Direct evidence is “overt or explicit evidence which directly reflects discriminatory bias

by a decision maker.” Katchur, 354 F. Supp. 3d at 665 (quoting Lei Ke v. Drexel University, No.

11-6708, 2015 WL 5316492, at *12 (E.D. Pa Sept. 4, 2015)). Where a plaintiff relies on comments

made by the decision-maker, it is “vital that the statements relate to the decisional process.” Id.

(quoting Ke, 2015 WL 5316492, at *16) . In the absence of direct evidence, a Title VI violation

also may be established circumstantially in accordance with the burden-shifting framework

developed in McDonnell Douglas Corp. v. Green, 411 U.S, 792 (1973), and its progeny. See L.L.

v. Evesham Township Board of Education, 710 F. App’x 545, 548-49 (3d Cir. 2017).

        Here, Ms. Canaan contends that she plausibly pleads both direct and circumstantial evidence

of a Title VI direct discrimination claim based upon the totality of comments and behaviors of

Professors Arscott, Issaias, and Bista, and upon the actions and inactions of CMU executives


7
        See also Gebser v. Lago Vista Independent Sch. Dist., 524 U.S. 274, 290 (1998) (creating a
deliberate indifference standard in a Title IX teacher-against-student harassment claim and explaining that
the school defendant was deliberately indifferent when “an official who at a minimum has authority to
address the alleged discrimination and to institute corrective measures on the [school’s] behalf has actual
knowledge of discrimination in the [school’s] programs and fails adequately to respond”); Davis v. Monroe
Cnty. Bd. of Educ., 526 U.S. 629, 646-47 (1999) (applying deliberate indifference standard in a Title IX
student-against-student sexual harassment claim).
8
        The Third Circuit Model Jury Instructions describe direct evidence as being derived from a witness
who testifies about something that the witness knows through his or her own senses or from an exhibit
offered to prove its existence or current condition. Circumstantial evidence is described as “proof of one or
more facts from which you could find another fact.” Model Instruction 1.6, Option 2.


                                                     14
      Case 2:23-cv-02107-WSH             Document 40         Filed 12/17/24       Page 15 of 43




Hameen, Casalegno, Heading-Grant, and Rosemeyer. (Docket No. 29 at 16). CMU asserts Ms.

Canaan attempts only to state her discrimination claim circumstantially, and further asserts that she

fails to do so because she has not factually averred that she was treated differently from similarly

situated non-Jewish, non-Israeli classmates. Ms. Canaan does not expressly indicate to the Court

which of her averments she deems direct versus circumstantial. Regardless, because the Court must

accept all factual averments in the Complaint as true and draw all reasonable inferences derived

therefrom in Ms. Canaan’s favor in accordance with Rule 12(b)(6), the Court declines to

unnecessarily determine the “direct” or “circumstantial” nature of those averments at this juncture, 9

and instead will assume that all such factual averments are circumstantial and will analyze them as

such for resolving the pending motion. See Katchur, 354 F. Supp. 3d at 666-68 (concluding that

plaintiff adequately pleaded a Title VI direct discrimination claim even when assuming that

averments that directly reflected discriminatory bias by a decision-maker were not direct evidence

of discriminatory animus).

        Accordingly, the Court will employ the McDonnell Douglas framework, which begins by

evaluating whether Ms. Canaan satisfied her burden of establishing the prima facie elements of

discrimination. McDonnell Douglas, 411 U.S. at 802.           This burden is not onerous. Texas Dep’t

of Cmty. Affairs v. Burdine, 450 U.S. 248, 253-54 (1981). In the Title VI educational context, Ms.

Canaan must show: (1) she is a member of a protected class; (2) she suffered an adverse action by



9
         “When a plaintiff presents what he [or she] contends is ‘direct evidence’ of … discrimination, the
evidence must be ‘overt or explicit evidence which directly reflects discriminatory bias by a decision
maker.’” Ke, 2015 WL 5316492, at *14 (quoting Bullock v. Children’s Hosp. of Phila., 71 F. Supp. 2d 482,
484 (E.D. Pa.1999)). If the evidence that is developed during discovery supports an argument that one or
more of Ms. Canaan’s professors is a decision-maker whose purportedly discriminatory comments and
actions relate to an alleged discriminatory decision affecting Ms. Canaan or otherwise is relevant to CMU’s
purported deliberate indifference, then it may become necessary to line draw between direct and
circumstantial evidence of discrimination before or when deciding future motions such as a summary
judgment motion (Rule 56) or a motion for judgment as a matter of law (Rule 50).

                                                    15
      Case 2:23-cv-02107-WSH             Document 40         Filed 12/17/24       Page 16 of 43




CMU in pursuit of education; (3) she was qualified to continue her education; and (4) that “some

additional evidence exists that establishes a causal nexus between the harm suffered” and her

“membership in a protected class, from which a reasonable juror could infer, in light of common

experience, that [CMU] acted with discriminatory intent.” Evesham Twp. Bd. of Edu., 710 F. App’x

at 548-49 (quoting Anderson v. Wachovia Mortg. Corp., 621 F.3d 261, 275 (3d Cir. 2010));

Katchur, 354 F. Supp. 3d at 666. See J.C. by and through Mr. J.C. v. South Hills Assembly of God,

No. 21-1558, 2022 WL 3370623, at *3 (W.D. Pa. Aug. 16, 2022). The fourth element may be

satisfied by a factually supported allegation of deliberate indifference. See David v. Neumann

Univ., 177 F. Supp. 3d 920, 927 (E.D. Pa. 2016). 10

        Ms. Canaan contends, and CMU does not contest, that Title VI covers her discrimination

claims because CMU receives federal funding, 11 she is Jewish and of Israeli descent, and she at all

relevant times was a student in its School of Architecture. (Docket No. 1, ¶¶ 2, 12, 13, 97). Further,

“CMU assumes, without conceding, that the Complaint satisfies the first three elements of the prima

facie case” while reserving the right to contest those elements at another time. (Docket No. 20 at

11, n.6). However, CMU asserts that Ms. Canaan’s Complaint fails to satisfy the fourth prima

facie element of a Title VI discrimination claim because she does not expressly allege in her

Complaint that she was treated differently from similarly situated, non-Jewish, non-Israeli students.



10
         The establishment of these prima facie elements generates an inference of discrimination that may
be rebutted by CMU’s articulation of one or more nondiscriminatory reasons for taking the adverse action(s)
at issue. If CMU meets this burden of production, then Ms. Canaan must establish that the reason(s) offered
were not the true reasons but were a pretext for unlawful discrimination. Burdine, 450 U.S. at 253-55;
Fuentes v. Perskie, 32 F.3d 759, 764-65 (3d Cir. 1994). As the Court notes above, CMU is contesting Ms.
Canaan’s establishment of the prima facie element of her direct discrimination claim, so the Court will not
reach questions of whether CMU could rebut an inference of discrimination with a nondiscriminatory reason
for taking adverse action or whether Ms. Canaan could show such a reason was pretextual.
11
        Plaintiff specifically alleges that the University received approximately $1.753 billion in federal
funding during her attendance from 2018 to 2023. (Docket No. 1, ¶¶ 2, 12, 13).


                                                    16
      Case 2:23-cv-02107-WSH            Document 40        Filed 12/17/24       Page 17 of 43




In support of this argument, CMU points to case law stating that the fourth prima facie element

“can be established by showing that similarly situated individuals who were not members of the

protected class were more favorably treated than the plaintiff.” See, e.g., Davis v. Quaker Valley

Sch. Dist., No. 13-1329, 2016 WL 912297, at *10 (W.D. Pa. Mar. 10, 2016); Nguyen v. AK Steel

Corp., 735 F. Supp. 2d 346, 361 (W.D. Pa. 2010) (citing Jones v. School Dist. of Phila., 198 F.3d

403, 410-11 (3d Cir. 1999)). However, while CMU is correct that such suggestions of disparate

treatment can satisfy this fourth prima facie element, a plaintiff may satisfy this element in other

ways. See Xu Feng v. Univ. of Delaware, 785 F. App’x 53, 56 (3d Cir. 2019) (“Although

comparative evidence is often highly probative of discrimination, it is not an essential element of a

plaintiff’s case.” (quoting Anderson, 621 F.3d at 268–69)). “The precise formulation of the

requirements for a prima facie showing of discrimination varies slightly by context,” Quaker Valley

Sch. Dist., 2016 WL 912297, at * 10, and McDonnell Douglas itself makes clear that the prima

facie “proof required . . . is not necessarily applicable in every respect to differing factual

situations.” 411 U.S. at 802, n.13. Indeed, McDonnell Douglas is not a pleading standard but is an

evidentiary standard, Swierkiewicz v. Sorema N.A., 534 U.S. 506, 510 (2002), and the purpose of

the prima facie case is to “eliminate[] the most common nondiscriminatory reasons” for a

defendant’s actions. Iadimarco v. Runyon, 190 F.3d 151, 158 (3d Cir. 1999) (quoting Burdine, 450

U.S. at 253–54). The prima facie elements were “never intended to be rigid, mechanized, or

ritualistic.” Furnco Constr. Corp. v. Waters, 438 U.S. 567, 577 (1978) (Title VII). 12 Pleading and

proving disparate treatment between a plaintiff and other individuals on the basis of a protected

classification, while sufficient, is not necessary to satisfy the fourth prima facie element, for the


12
         Xu Feng, 785 F. App’x at 55 (“Cases under Title VI are governed by the same framework as those
under other federal civil rights laws such as Title VII, which covers employment discrimination claims.”
(citing Hankins v. Temple Univ. (Health Sciences Center), 829 F.2d 437, 440 (3d Cir. 1987), and NAACP v.
Med. Ctr., Inc., 657 F.2d 1322, 1336 (3d Cir. 1981) (en banc))).

                                                  17
      Case 2:23-cv-02107-WSH           Document 40        Filed 12/17/24      Page 18 of 43




Third Circuit has supplied a more broadly stated alternative, which CMU subtly acknowledges in

its reply brief, that is, “a causal nexus between the harm suffered and the plaintiff’s membership in

a protected class, from which a reasonable juror could infer, in light of common experience, that

the defendant acted with discriminatory intent.” Evesham Twp. Bd. of Edu., 710 F. App’x at 548-

49 (citing Anderson, 621 F.3d at 275). The Court measures Ms. Canaan’s Complaint through this

aperture.

       A careful examination of Ms. Canaan’s Complaint reveals numerous factual averments that

plausibly show that CMU intentionally discriminated against her through its deliberate indifference

because she is Jewish and of Israeli descent. Ms. Canaan’s averments plausibly show that she was

met with roadblocks time and again after her encounter with Professor Arscott on May 5, 2022,

when Professor Arscott told Ms. Canaan that she should have focused on exploring “what Jews do

to make themselves such a hated group” instead of working on her semester-long architecture studio

class project. (Docket No. 1, ¶ 2). The parties expressed at Oral Argument that they are generally

in agreement that this comment—asking a student to consider what his or her racial, ethnic, or

religious group does to make themselves “hated”—is (if true) offensive. (Docket No. 39 at 14).

And yet, according to Ms. Canaan, she received only the façade of action from those administrators

at CMU who “knew that a harm to a federally protected right was substantially likely.” Se.

Pennsylvania Transp. Auth. v. Gilead Scis., Inc., 102 F. Supp. 3d 688, 701 (E.D. Pa. 2015).

       Ms. Canaan alleges that her studio professor told her not to worry about Professor Arscott’s

offensive comment. (Docket No. 1, ¶ 26). Director Hameen told Ms. Canaan that she was “shocked

and appalled” and offered to talk to Professor Arscott, but Ms. Canaan has no indication she ever

did so. (Id. ¶ 29). Ms. Canaan notified and eventually met with Dean Casalegno and Vice Provost

Heading-Grant (separately), which resulted in Dean Casalegno offering to go for a walk with



                                                 18
      Case 2:23-cv-02107-WSH           Document 40        Filed 12/17/24      Page 19 of 43




Professor Arscott, but as of July 28, 2022, she had not yet spoken with Professor Arscott. (Id. ¶ 35).

Dean Casalegno eventually had what she characterized as a “thoughtful conversation” with

Professor Arscott and a meeting was arranged between Ms. Canaan and Professor Arscott to be

facilitated by Vice Provost Heading-Grant. (Id. ¶¶ 36-37). At the meeting, and undeterred by Ms.

Canaan’s earlier complaint, Professor Arscott told Ms. Canaan that she was “sorry [she] felt” the

way that she did and immediately thereafter shared what Ms. Canaan describes in her Complaint as

antisemitic articles to provide Ms. Canaan with “perspective.” (Id. ¶ 38). Ms. Canaan promptly

sent an email concerning these articles to Dean Casalegno and Vice Provost Heading-Grant but

Heading-Grant responded there was nothing she could do beyond telling Ms. Canaan that if she felt

aggrieved she could contact the Office for Institutional Equity and Title IX. Title IX Coordinator

and Assistant Vice Provost of DEI Rosemeyer set up a meeting with Ms. Canaan for November 21,

2022, and met with her but ultimately “aggressively discouraged Canaan from filing a formal

complaint.” (Id. ¶ 46). Ms. Canaan followed that advice against filing a formal complaint, but

reiterated her request for an apology and antisemitism training for Professor Arscott. (Id.).

However, Assistant Vice Provost Rosemeyer never raised the topic of an apology with Professor

Arscott. (Id. ¶ 47).

       At this stage of the litigation, any reasonable inference that can be drawn from these factual

allegations must, of course, be drawn in Ms. Canaan’s favor. In re Asbestos Prod. Liab. Litig. (No.

VI), 822 F.3d 125, 131 (3d Cir. 2016). It is the Court’s determination that Ms. Canaan’s allegations

are sufficient to show that CMU failed to meaningfully react to Professor Arscott’s offensive and

discriminatory interactions with Ms. Canaan. The CMU executives responsible for addressing

discriminatory mistreatment of a Jewish student, such as Ms. Canaan, failed or refused to prevent

or sufficiently stop it. Indeed, the Dean of Students, Vice Provost of DEI, School of Architecture



                                                 19
      Case 2:23-cv-02107-WSH            Document 40        Filed 12/17/24      Page 20 of 43




Director of DEI, and the Title IX Coordinator and Assistant Vice Provost of DEI, all knew of

Professor Arscott’s racially and ethnically offensive conduct directed at Ms. Canaan, but showed

deliberate indifference toward Ms. Canaan’s federally protected right not to be discriminated

against on the basis of her Jewish identity. See Blunt, 767 F.3d at 294 (citing Davis v. Monroe Cty.

Bd. of Educ., 526 U.S. 629, 646–47 (1999) (finding that the deliberate indifference standard may

be met where a school knows of intentional sexual harassment but fails to act)). Accordingly, the

Court rejects CMU’s argument that Ms. Canaan’s Complaint lacks factual averments sufficient to

satisfy the fourth element of her prima facie case of direct discrimination in violation of Title VI.

       B.      Hostile Educational Environment in Violation of Title VI

       At Count II, Ms. Canaan alleges that CMU subjected her to a hostile educational

environment in violation of Title VI. (Docket No. 1, ¶¶ 112-124). In response, CMU contends that

Ms. Canaan’s Complaint does not allege facts sufficient to show the harassment she purportedly

endured was severe and pervasive, nor that CMU was deliberately indifferent. As with Count I, the

Court disagrees with CMU’s challenge to the sufficiency of Ms. Canaan’s averments in support of

this claim at Count II.

       Courts in this Circuit have often articulated the requirements of a hostile educational

environment claim as follows:

               To succeed on a hostile educational environment claim, a plaintiff
               must prove: (1) that he [or she] is a member of a protected class; (2)
               that he [or she] was harassed because of race[, color, or national
               origin]; (3) that defendant had actual knowledge of and was
               deliberately indifferent to the harassment; and (4) that the
               harassment was so severe and objectively offensive that it deprived
               plaintiff of access to the educational benefits or opportunities
               provided by the school.
Ke, 2015 WL 5316492, at *32. The parties in this matter debate whether Ke and opinions that

include similar articulations of the legal standard for these claims include correct formulations of


                                                 20
      Case 2:23-cv-02107-WSH           Document 40        Filed 12/17/24      Page 21 of 43




the fourth element of a Title VI hostile educational environment claim. Ms. Canaan argues that she

must plead (and that she has pleaded) facts showing she was subjected to “severe or pervasive

harassment” based on her Jewish and Israeli descent, and that CMU had actual knowledge of the

harassment, exercised substantial control, and was deliberately indifferent. (Docket No. 29 at 12

(emphasis added)). CMU argues that Ms. Canaan must plead facts showing that the harassment

she experienced was “severe, pervasive, and objectively offensive.” (Docket No. 33 at 3 (emphasis

added)). The parties’ disagreement is understandable given that the jurisprudential landscape with

respect to whether Ms. Canaan must plead harassment that was severe-or-pervasive or severe-

pervasive-and-objectively-offensive is murky, in part because one of several statutes may be

applicable to allegations of harassment depending on the bases for the purported harassment, e.g.,

sex, race, etc. For the reasons explained herein, the Court concludes that, considering the Third

Circuit Court of Appeals’ decision in Doe by & through Doe v. Boyertown Area Sch. Dist., 897

F.3d 518, 534 n.99 (3d Cir. 2018), the applicable standard for the fourth element of a hostile

educational environment claim such as the claim presented here is the severe-or-pervasive standard.

       The severe-or-pervasive standard has long been recognized as the standard applicable to

Title VII hostile work environment claims. Oncale v. Sundowner Offshore Services, Inc. 523 U.S.

75, 78 (1998) (“When the workplace is permeated with discriminatory intimidation, ridicule, and

insult that is sufficiently severe or pervasive to alter the conditions of the victim’s employment and

create an abusive working environment, Title VII is violated.” (quoting Harris v. Forklift Systems,

Inc., 510 U.S. 17, 21 (1993)) (emphasis added)); Betz v. Temple Health Sys., 659 F. App’x 137, 142

(3d Cir. 2016) (listing the elements of a Title VII hostile-work-environment claim). However, the

standard advanced by CMU—severe, pervasive, and objectively offensive—was employed in

Davis v. Monroe Cnty. Bd. of Educ., a Title IX case wherein the Supreme Court granted certiorari



                                                 21
      Case 2:23-cv-02107-WSH               Document 40          Filed 12/17/24       Page 22 of 43




“to resolve a conflict in the Circuits over whether, and under what circumstances, a recipient of

federal educational funds can be liable in a private damages action arising from student-on-student

sexual harassment.” 526 U.S. 629, 637 (1999)).

        In Davis, addressing instances of peer-on-peer harassment in schools, the Supreme Court

held “that funding recipients are properly held liable in damages only where they are deliberately

indifferent to sexual harassment, of which they have actual knowledge, that is so severe, pervasive,

and objectively offensive that it can be said to deprive the victims of access to the educational

opportunities or benefits provided by the school.” Id. at 650 (emphasis added); Whitfield v. Notre

Dame Middle Sch., 412 F. App’x 517, 521 (3d Cir. 2011) (“A plaintiff may recover for alleged

‘severe, pervasive, and objectively offensive’ student-on-student harassment if the school ‘acts with

deliberate indifference to known acts of harassment.’” (quoting Davis, 526 U.S. at 633); Rullo v.

Univ. of Pittsburgh - of Commonwealth Sys. of Higher Educ., No. CV 17-1380, 2020 WL 1472422,

at *7 (W.D. Pa. Mar. 26, 2020) (applying the severe, pervasive, and objectively offensive standard

to peer-on-peer harassment in a university environment). 13

        The severe, pervasive, and objectively offensive standard was also discussed at some length

in Saxe v. State College Area Sch. Dist., 240 F.3d 200, 205-06 (3d Cir. 2001) (Alito, J.). In that

matter, the United States Court of Appeals for the Third Circuit considered a First Amendment


13
         This standard has been widely applied in student-on-student harassment cases, as well as in matters
where teachers are alleged to have contributed to alleged harassment in an educational environment. See,
e.g., C.M. v. Pemberton Twp. High Sch., No. CV 16-9456 (RMB/JS), 2017 WL 384274, at *5 (D.N.J. Jan.
27, 2017) (explaining that “to establish a Title IX discrimination claim against the Pemberton Defendants
based upon alleged sex discrimination against C.M. by her classmates,” the plaintiff C.M. would have to
establish, inter alia, that the harassment was “severe, pervasive, and objectively offensive”); Bridges ex rel.
D.B. v. Scranton Sch. Dist., 644 F. App’x 172, 179 (3d Cir. 2016) (applying the Davis standard to a teacher’s
alleged verbal abuse in a case that “involve[d] alleged bullying, harassment, and racism by both students and
a teacher in elementary schools in the Scranton School District”); I.G. v. Jefferson County Sch. Dist., 452 F.
Supp. 3d 989, 1001 (D. Colo. 2020) (finding adequately alleged harassment that was severe, pervasive, and
objectively offensive when a student alleged, inter alia, that students at her middle school were giving Nazi
salutes, wearing swastikas, and making other references to the Holocaust to the plaintiff, a Jewish student).


                                                      22
     Case 2:23-cv-02107-WSH            Document 40       Filed 12/17/24      Page 23 of 43




challenge to a school’s anti-harassment policy. The District Court had held that the policy was

constitutional and “simply replicated existing law.” Id. at 204. Reviewing that decision, the Third

Circuit began its analysis of the issue presented with a “review[] [of] the scope of the applicable

anti-harassment statutes,” including Title VI and Title IX. Id. The Third Circuit explained that the

Supreme Court had recognized that a public-school student could sue a school under Title IX for a

hostile environment—a concept borrowed from Title VII hostile-work-environment claims—in

cases of student-on-student sexual harassment when the harassment is “so severe, pervasive, and

objectively offensive … that the victim students are effectively denied equal access to an

institution’s resources and opportunities.” Id. at 205-06 (quoting Davis, 526 U.S. at 651). Because

the standard for Title IX student-on-student-harassment hostile environment claims is—pursuant to

Davis—the severe-pervasive-and-objectively-offensive standard, and because Title IX and Title VI

“operate in the same manner,” 14 it is not unreasonable for CMU to advocate for application of that

standard to Ms. Canaan’s Title VI hostile educational environment claim.

       However, in Boyertown Area Sch. Dist., the Third Circuit addressed the Court’s inconsistent

articulation of the severe-or-pervasive/severe-pervasive-and-objectively-offensive standard and

indicated that for Title IX hostile educational environment claims, the correct standard is the

disjunctive severe-or-pervasive. In Boyertown Area Sch. Dist., the Third Circuit considered a

hostile educational environment claim under Title IX brought by cisgender students at a high school

who challenged a policy that permitted use of certain bathrooms and locker rooms by transgender

students on a case-by-case basis. 897 F.3d at 533. In that matter, the Third Circuit employed a

“severe, pervasive, or objectively offensive” standard to the alleged sexual harassment, id., and

explained in a footnote: “[w]e recently noted that we have not always been consistent in stating



14
       Gebser, 524 U.S. at 286.

                                                23
     Case 2:23-cv-02107-WSH           Document 40        Filed 12/17/24      Page 24 of 43




whether a plaintiff claiming sexual harassment must prove the harassment was ‘severe or pervasive’

or ‘severe and pervasive,’” and this “confusion stems from the fact that the Supreme Court has used

both the conjunctive and the disjunctive to describe the plaintiff’s burden.” Id. at 534, n.99.

Explaining that the disjunctive standard was correct, the Third Circuit referred to its decision in

Castleberry v. STI Grp., wherein it had held that for hostile work environment claims arising under

42 U.S.C. § 1981, the “correct standard is ‘severe or pervasive.’” Id. (quoting Castleberry v. STI

Grp., 863 F.3d 259, 264 (3d Cir. 2017)). The disjunctive standard has since been applied to address

a Title VI hostile educational environment claim pursuant to Castleberry. See Evesham Twp. Bd.

of Educ., 710 F. App’x at 549.

       Therefore, in the Court’s estimation, the disjunctive severe-or-pervasive standard applies to

Ms. Canaan’s hostile educational environment claim pursuant to Castleberry and Boyertown.

However, the Court notes that while Boyertown, Castleberry, and not-precedential decisions like

Evesham Twp. Bd. of Educ. seem to resolve the question of whether Ms. Canaan or CMU have

provided the correct standard for evaluating Ms. Canaan’s hostile educational environment

allegations, Davis certainly supports application of the severe-pervasive-and-objectively-offensive

standard in some instances, like in cases addressing student-on-student harassment claims which

present unique factual circumstances related to notice of violative conduct, the context in which

known harassment occurs, and authority to take remedial action. 526 U.S. at 642-47. In any event,

Ms. Canaan argues her hostile educational environment allegations are sufficient regardless of

which standard the Court applies. And Ms. Canaan’s allegations of harassment are not like those

cases wherein a plaintiff proffers only one incident of harassment and seeks to premise her claim

on the purported severity of a singular occurrence.       Therefore, even though the Court has

determined the correct standard for Ms. Canaan’s hostile educational environment claim was set



                                                24
      Case 2:23-cv-02107-WSH              Document 40         Filed 12/17/24       Page 25 of 43




forth in Boyertown, out of an abundance of caution the Court will consider not only severity, but

also pervasiveness and whether the alleged conduct at issue is objectively offensive. But see

Castleberry, 863 F.3d 264 (explaining that under the severe-or-pervasive standard, alternate ways

to show a hostile work environment include harassment of such severity it taints the environment

even if not pervasive, as well as less severe conduct that taints the environment because it is

pervasive). 15

        More broadly, a determination of “[w]hether an environment is hostile requires looking at

the totality of the circumstances.” Id. So, the Court will consider the totality of circumstances to

determine whether Ms. Canaan has plausibly alleged harassment that created a hostile educational

environment, and the Court will also consider whether Ms. Canaan has factually supported an

allegation that CMU was deliberately indifferent to known acts of harassment. Evesham Twp. Bd.

of Educ., 710 F. App’x at 549. CMU contends that Ms. Canaan’s Complaint avers just three

purported episodes of harassment involving Professor Arscott that are not severe and pervasive. In

the first instance, Ms. Canaan avers that Professor Arscott denied her request, without explanation,

for an extension on an assignment so that she could attend an on-campus memorial service for the

victims of the then-recent and nearby Tree of Life Synagogue shooting. (Docket No. 1, ¶¶ 14-15).

In the second instance, and as discussed at length supra, Section III(A) (Direct Discrimination),

Ms. Canaan avers that in May 2022 Professor Arscott cut Ms. Canaan off in class during her



15
        The Court acknowledges CMU’s argument that Title VI/Title IX cases and Title VII cases are
disanalogous—to an extent—because Title VI and Title IX are rooted in Congress’s spending power, while
“Title VII is rooted in the Commerce Clause and § 5 of the Fourteenth Amendment.” Doe v. Mercy Cath.
Med. Ctr., 850 F.3d 545, 553 (3d Cir. 2017). CMU argues that this difference means that Title VII cases
and their severe-or-pervasive standard should not inform courts’ consideration of Title VI and Title IX
cases. However, in Gebser, the Supreme Court explained that the primary implication of Title IX’s
“contractual nature” is that the funding recipient must have “actual notice” of harassment. 524 U.S. at 287-
88. The Court does not perceive that Title VII’s basis in the Commerce Clause versus Congress’s spending
power necessitates limiting the severe-or-pervasive standard to Title VII claims.

                                                    25
      Case 2:23-cv-02107-WSH                 Document 40          Filed 12/17/24         Page 26 of 43




presentation of her studio project and told Ms. Canaan that a “wall in the model looked like the wall

Israelis use to barricade Palestinians out of Israel” and that Ms. Canaan’s “time would have been

better spent if she had instead explored ‘what Jews do to make themselves such a hated group.’”

(Id. ¶¶ 2, 19-25). In the third instance, Ms. Canaan avers that when she finally secured a meeting

with Vice Provost Heading-Grant and Professor Arscott to address Professor Arscott’s offensive

classroom comments and conduct, albeit six months after Ms. Canaan promptly reported them, Vice

Provost Heading-Grant sat idly by while Professor Arscott refused to apologize for her conduct,

showed no remorse, and instead referenced and subsequently emailed Ms. Canaan and Vice Provost

Heading-Grant a link to The Funambulist and urged Ms. Canaan to read its contents for “insightful

… perspective.” (Id. ¶ 38). As noted above, Ms. Canaan alleges that The Funambulist contains

significant anti-Jewish and anti-Israel content. (Id. ¶¶ 2, 37-40).

        CMU contends that these instances are not qualitatively equivalent to events giving rise to

hostile environments in other cases, such as physically assaultive behavior or the use of racial slurs

or epithets; therefore, CMU argues, the events at CMU with respect to Ms. Canaan are not severe

and pervasive as a matter of law. 16 However, the Court disagrees and finds that in pressing this


16
         For support, CMU cites Doe v. Galster, 768 F. 3d 611, 618 (7th Cir. 2014); Sewell v. Monroe City
Sch. Bd., 974 F.3d 577, 585 (5th Cir. 2020); Zeno v. Pine Plains Central Sch. Dist., 702 F.3d 655, 659-62,
667 (2d Cir. 2012); Vance v. Spencer Cnty. Pub. Sch. Dist., 231 F.3d 253, 259 (6th Cir. 2000); Murrell v.
Sch. Dist. No. 1, 186 F.3d 1238, 1248 (10th Cir. 1999). While each of these cases find the egregious
harassment reported therein to be severe, none of these cases indicate that a physical assault or specific slurs
are required to deem such conduct severe within the meaning of Title VI. Moreover, most of these decisions
were made after the development of a full evidentiary record either at the summary judgment stage or after
a jury verdict rather than at the initial pleading stage. There is nothing in the text of Title VI or in controlling
Title VI precedents that restrict a “severity” finding only to “rare” cases. CMU emphasizes this quality of
rarity as though it were a standalone requirement of a hostile environment claim. However, the reference to
rarity appears to be derived from Doe v. Galster wherein the United States Court of Appeals for the Seventh
Circuit examined the complexity of schoolyard Title VI claims, i.e., harassment perpetrated by students
against students. 768 F.3d at 618. Therein, the court sought to explain how federal law cannot be used to
hold institutions accountable for “commonplace schoolyard altercations, including name-calling, teasing,
and minor physical scuffles” in part because “children … regularly interact in a manner that would be
unacceptable among adults.” Id. (quoting Davis, 526 U.S. at 651). This case does not involve the
complexities of holding educators accountable for the difficult job of governing minors who have yet to

                                                        26
      Case 2:23-cv-02107-WSH              Document 40         Filed 12/17/24        Page 27 of 43




argument, CMU not only takes an overly narrow view of what qualifies as “severe,” but also

improvidently draws inferences in its favor from select averments while ignoring or minimizing

other averments to downplay the severity of Professor Arscott’s objectively offensive conduct

directed toward Ms. Canaan and of the harmful effects that Professor Arscott and other professors

and administrators had on Ms. Canaan’s participation in CMU’s educational offerings. In doing

so, CMU inverts the Rule 12(b)(6) standard.

        As set forth above, Rule 12(b)(6) requires the Court to accept the factual allegations

contained in the Complaint as true and to construe those allegations in the light most favorable to

Ms. Canaan as the non-moving party to determine “whether, under any reasonable reading of the

complaint, [she] may be entitled to relief.” Phillips, 515 F.3d at 231; Iqbal, 556 U.S. at 678;

Twombly, 550 U.S. at 570. Furthermore, the Court’s evaluation of the sufficiency of the pleadings

must consider both the context and the elements of the asserted claim(s) at issue. Phillips, 515 F.3d

at 232 (“Context matters in notice pleading.”). Context is especially important here where the

“totality of the circumstances” is the relevant framework for establishing a Title VI hostile

educational environment claim. See Saxe, 240 F.3d at 206 (“[t]his determination ‘depends on a

constellation of surrounding circumstances, expectations, and relationships’ …”) (quoting Davis,

526 U.S. at 651)).

        Accordingly, in considering the totality of circumstances, the Court also evaluates the

instances of harassment purportedly perpetrated by Professor Arscott in the context of her position,

role, and relationships with Ms. Canaan, her fellow professors, and important CMU administrators.


learn how to treat their peers with appropriate respect. All involved in this matter are adults at one of our
nation’s premier universities. Accordingly, the Court is unpersuaded that it ought to hold Ms. Canaan’s
hostile environment claim to a poorly defined and statutorily unmoored standard of rarity. Under applicable
pleadings standards she must factually support her claim of hostile educational environment by identifying
harassment that was so severe or pervasive that it effectively denied her the benefit of her education. The
Court assesses her claims according to that standard without adding to it.

                                                     27
      Case 2:23-cv-02107-WSH           Document 40        Filed 12/17/24      Page 28 of 43




In this regard, Ms. Canaan’s Complaint contains facts supporting inferences that Professor Arscott

is in a position of authority and influence over students and certain colleagues and administrators.

Indeed, Professor Arscott’s title, “Associate Head for Design Fundamentals,” suggests an

influential if not managerial role within CMU’s School of Architecture. (Docket No. 1, ¶ 24). This

understanding is reinforced by averments that suggest Professor Arscott was a ubiquitous figure in

the School of Architecture, rather than an individual who Ms. Canaan could easily avoid. The

inference that most readily arises from the averments is that Professor Arscott had license to attend

and participate in at least some other professors’ classes and their out-of-classroom gatherings,

including guest lectures, group dinners, and community events. (Id. ¶ 74). For instance, Professor

Arscott’s hostile and offensive in-class statements to Ms. Canaan that were triggered by Ms.

Canaan’s eruv presentation took place during the final review in a studio class taught by a different

professor. (Id. ¶¶ 22-26). Professor Arscott hosted a party at her home for one of Professor Issaias’s

classes. (Id. ¶ 50). And Professor Arscott attended the biweekly reviews of Professor Bista’s studio

class to review the students’ work, she attended the students’ in-person presentations, and she could

and did come into Professor Bista’s class at any time and without warning or Bista’s permission to

attend. (Id. ¶¶ 59-61). The Complaint also avers that Professor Arscott’s influence over faculty

colleagues extends beyond her ability to participate in their classes, particularly regarding

Professors Issaias and Bista, both of whom are averred to be beholden to Professor Arscott. (Id.

¶¶ 48, 59).

       Professor Arscott’s averred relationships with CMU’s administrators responsible for

administering CMU’s policies prohibiting discrimination and harassment also reasonably suggests

that Professor Arscott had influence with them, too. For instance, when Ms. Canaan pushed Dean

Casalegno for action in response to her complaint about Professor Arscott’s racially and ethnically



                                                 28
      Case 2:23-cv-02107-WSH            Document 40        Filed 12/17/24      Page 29 of 43




hostile and offensive classroom comments, Dean Casalegno offered merely to go on a “casual walk”

with Professor Arscott rather than take more formal action because, as Ms. Canaan’s Complaint

suggests, Professor Arscott was Dean Casalegno’s “close personal friend.” (Docket No. 1, ¶ 34).

Months later, when Dean Casalegno finally did arrange for a Zoom meeting between Ms. Canaan

and Professor Arscott, to be facilitated by Vice Provost Heading-Grant, Heading-Grant’s

facilitation of that virtual meeting proved to be nothing more than that of a silent observer who did

nothing to prepare Professor Arscott to address Ms. Canaan’s concerns or to fashion and implement

any corrective measures. Instead, Vice Provost Heading-Grant passively acquiesced to Professor

Arscott’s steadfast refusal to apologize. (Id. ¶ 37). The toothless nature of Vice Provost Heading-

Grant’s role as facilitator was reinforced by her dismissive reaction to Professor Arscott’s follow-

up with The Funambulist email, which she sent to both Vice Provost Heading-Grant and Ms.

Canaan shortly after their Zoom meeting. Vice Provost Heading-Grant initially ignored it, oddly

stating that she lacked “context,” and, finally, stating there was nothing she could do about it beyond

referring Ms. Canaan to yet another CMU administrator. (Id. ¶¶ 43-46).

       When Ms. Canaan pursued that path, Assistant Vice Provost (and Title IX Coordinator)

Rosemeyer, is alleged to have aggressively discouraged her from filing a formal complaint,

effectively shielding Professor Arscott from being investigated and held accountable. (Id. ¶ 46).

When Ms. Canaan persisted, even in the face of this additional discouragement, in requesting that

Professor Arscott apologize and receive training on antisemitism, Assistant Vice Provost

Rosemeyer still failed to raise the topic of an apology with Professor Arscott as of several weeks

later. (Id. ¶¶ 46-47). It is reasonable to infer from those facts not only that Ms. Canaan was subject

to instances of harassment (e.g., being asked what Jewish people do to make themselves hated,

reinforced later by Professor Arscott’s refusal to apologize followed by The Funambulist email),



                                                  29
      Case 2:23-cv-02107-WSH               Document 40          Filed 12/17/24        Page 30 of 43




but also that Casalegno, Heading-Grant, and Rosemeyer, were deliberately indifferent to Professor

Arscott’s putative bigotry. 17 In asking this Court to instead infer from those factual averments that

Ms. Canaan’s “concerns were addressed by faculty and CMU’s highest administrators, and that

those individuals worked with Canaan to respond to those issues” (Docket No. 20 at 16), CMU

effectively seeks an inference of a reasonable response to Ms. Canaan’s complaints in its favor.

But Ms. Canaan’s allegations support an inference that CMU paid lip service to her prompt

complaints of discriminatory harassment, i.e., an inference at this early stage of litigation that

CMU’s “response (or failure to respond) … [was] ‘clearly unreasonable in light of the known

circumstances.’” Rullo, 2020 WL 1472422, at *7 (quoting Davis, 526 U.S. at 649).

        Not only that, but when the Court also considers Ms. Canaan’s allegations concerning

Professor Issaias, a reasonable inference of pervasiveness of harassment and deliberate indifference

also arises. Professor Issaias’s response to Ms. Canaan’s sharing that she had been harassed by

Professor Arscott was to: invite Ms. Canaan to a gathering at Professor Arscott’s home; tell Ms.

Canaan to stop “acting like a victim”; complain that Ms. Canaan was “calling all of us antisemites”;

and, further, to inform Ms. Canaan that he could not “be an advocate for the Jews.” (Id. ¶ 50).

Thereafter, Professor Issaias denied Ms. Canaan one-on-one instruction and became so hostile

toward her in class that his behavior drew the attention of her classmates and prompted them to ask

her “what she did to cause Issaias to treat her so poorly.” (Id. ¶ 52). Professor Issaias also gave

Ms. Canaan a lower grade than classmates who were part of her group project and omitted her work



17
         Additionally, though more attenuated, the Court must also take as true and consider Ms. Canaan’s
factual averments that CMU received more than a half billion dollars in funding from Qatar from 2004 to
2019, that Qatar “shelters and protects antisemitic, anti-Jewish, and anti-Israel terrorist organizations,” that
Professor Arscott spent time professionally in Qatar where CMU maintains a campus, and that CMU’s
lucrative relationship with Qatar influences both CMU’s and Professor Arscott’s treatment of Jewish
students such as Ms. Canaan. (Docket No. 1, ¶¶ 24, 70).


                                                      30
      Case 2:23-cv-02107-WSH              Document 40          Filed 12/17/24       Page 31 of 43




from a booklet he compiled of every other student’s work for those students who were in the class

that semester. (Id. ¶¶ 54, 57). 18 Ms. Canaan alleges that she informed Assistant Vice Provost

Rosemeyer of Issaias’s conduct—including that he had subjected her “to further antisemitic abuse”

and of her low grade in his class, but instead of addressing the harassment aspect of her complaint

Rosemeyer offered only to refer Ms. Canaan to grade appeals and connect her to emotional support

groups. (Id. ¶¶ 64-65). Drawing all inferences in Ms. Canaan’s favor, Ms. Canaan’s allegation that

Assistant Vice Provost Rosemeyer ignored her reports of Issaias’s discrimination supports an

inference of failure to act, i.e., a clearly unreasonable response when presented with alleged

antisemitic harassment.

        In its briefing in support of the Motion to Dismiss, CMU does not address whether the

discriminatory harassment alleged by Ms. Canaan deprived Ms. Canaan of access to the educational

benefits or opportunities provided by CMU. However, the Court briefly notes for purposes of



18
         In addition to the encounters in 2022 and 2023 described in this section, the Court also acknowledges
that Ms. Canaan avers that in May 2021 she sent an email to CMU’s President Farnam Jahanian and Dean
Casalegno expressing her concerns of antisemitism on CMU’s campus and telling them that Jewish students
“no longer feel safe on this campus” after the president of a student group posted a message in a 5,700
member Facebook group implicating Jewish students in the tensions and aggressions related to Israel and
Gaza and disseminating screen shots of internal emails from the campus Jewish community that made it easy
to identify Ms. Canaan and other Jewish students on campus. CMU argues that this incident was not
attributable to the University, and the Court acknowledges that point. Nevertheless, the Court assumes this,
like all of Ms. Canaan’s other averments, is true and considers it as part of the totality of circumstances
relevant to Ms. Canaan’s Title VI claims.

         One allegation that the Court has largely excluded from its consideration is the incident wherein
Professor Arscott is alleged to have denied Ms. Canaan’s request for an extension of time to complete an
assignment to allow her to attend a Tree of Life memorial service. Standing alone, that instance generates
no inference of racial or ethnic harassment, severe or otherwise. This encounter was Ms. Canaan’s first with
Professor Arscott and the Complaint supplies no additional context as to the nature of the assignment, the
length of time students had to complete the assignment, the timeliness of the request, whether other students
also requested and were denied an extension, and, ultimately, why Professor Arscott denied Ms. Canaan’s
request. Without more, the Court would have no reasonable basis for inferring that Professor Arscott’s denial
of Ms. Canaan’s request contributed to a hostile environment connected to Ms. Canaan’s Jewish identity.
Accordingly, the Court need not address CMU’s argument that its consideration of this alleged incident is
time barred.


                                                     31
      Case 2:23-cv-02107-WSH            Document 40        Filed 12/17/24     Page 32 of 43




completeness of its analysis of Ms. Canaan’s hostile educational environment claim, that Ms.

Canaan alleges that she was deprived of educational benefits to which she was entitled in the

following ways: she missed numerous architecture lectures; she missed many hours of an 18-credit

studio course; she was denied one-on-one meetings with Professor Issaias; and she avoided

architecture community events between the fall of 2022 through her graduation because she feared

running into Professor Arscott. (Docket No. 1, ¶ 120). CMU does not, at present, dispute that those

averments satisfy the deprivation-of-opportunity element of a hostile educational environment

claim, and the Court is satisfied that at least some of these alleged deprivations adequately support

Ms. Canaan’s claim, at least at the pleadings stage of this litigation.

       Accordingly, at this time, the Court is satisfied that Ms. Canaan has adequately alleged that

she was subject to a hostile educational environment in 2022 and 2023, and that she made her

harassment known to school administrators who were deliberately indifferent to it, and that she was

consequently deprived of access to educational benefits and opportunities at CMU. Particularly

when viewed in the context of Professor Arscott’s position of authority and influence over Ms.

Canaan and her other professors and important administrators, and considering the disruptive and

deleterious effects these actors collectively had on Ms. Canaan’s educational experience throughout

her time as a student, the Court concludes that Ms. Canaan has plausibly alleged that she was subject

to a hostile educational environment in violation of Title VI.

       C.      Retaliation in Violation of Title VI

       At Count III, Ms. Canaan alleges that CMU retaliated against her because she reported

instances of discrimination. (Docket No. 1, ¶¶ 125-140). Specifically, Ms. Canaan avers that after

she reported Professor Arscott’s antisemitic conduct, Professor Issaias and Professor Bista took

actions against her and that when Ms. Canaan informed Assistant Vice Provost Rosemeyer, Vice



                                                  32
     Case 2:23-cv-02107-WSH            Document 40        Filed 12/17/24      Page 33 of 43




Provost Heading-Grant, and Dean Casalegno about her professors’ actions, they demurred, delayed,

and offered no actual help. CMU argues that Ms. Canaan’s complaint to Assistant Vice Provost

Rosemeyer about Issaias’s retaliatory treatment was too little too late: “The Complaint alleges that

Canaan complained to Rosemeyer about Issaias on December 20, 2022, but only after his course

had concluded,” the timing of which “defeats Canaan’s retaliation claim because it would be

impossible for Rosemeyer to ‘cause [Canaan] to undergo harassment or make [her] … vulnerable

to it’ when the harassment had already concluded by the time Canaan reported it to Rosemeyer.”

(Docket No. 33 at 10 (quoting Davis, 526 U.S. at 645)). That is, CMU argues that to be liable for

Professor Issaias’s alleged retaliation, Ms. Canaan would have had to notify CMU of the retaliation

in time for CMU to put an end to it. For the reasons explained herein, the Court disagrees with

CMU’s assessment of Ms. Canaan’s averments in support of her retaliation claim.

       To establish retaliation in violation of Title VI, a plaintiff must show: “(1) she was engaging

in a protected activity; (2) the funded entity subjected her to an adverse action after or

contemporaneously with the protected activity; and (3) a causal link between the adverse action and

the protected activity.” Whitfield, 412 F. App’x at 522. CMU argues that Ms. Canaan fails to allege

that CMU subjected her to adverse action, in satisfaction of the second element of a retaliation

claim. CMU argues that actions by instructors are not actions by the federally funded entity itself.

(Docket No. 20 at 17 (citing Whitfield, 412 F. App’x at 522)). This is because, in CMU’s view,

Ms. Canaan merely alleges that two instructors (Professors Issaias and Bista)—rather than the

University—subjected her to materially adverse actions as a result of reporting discrimination.

(Docket No. 20 at 17-18 (“The University disagrees with Canaan’s allegations concerning the

treatment of Canaan by Issaias and Bista, but even accepting them as true, they do not establish




                                                 33
      Case 2:23-cv-02107-WSH              Document 40          Filed 12/17/24       Page 34 of 43




material adverse action by the University. Canaan must (but does not) allege that the federally-

funded entity, in this case, CMU, undertook a materially adverse action against her.”)).

        The Court disagrees with that characterization of the allegations. As recounted above,

Professor Issaias, among other things, told Ms. Canaan to stop acting like a victim, complained that

she was calling “all of us antisemites,” refused her the same one-on-one attention he gave to other

students, became so aggressive toward her in class that other students asked what she had done to

be treated so poorly, gave Ms. Canaan a lower grade than anyone else in her group project, and left

her work out of a December 2022 booklet presenting all of his other students’ work. (Docket No.

1, ¶¶ 50-57).     Professor Bista (her spring 2023 studio professor) offered Ms. Canaan a

“compromise” when Ms. Canaan protested Professor Arscott’s presence at studio review every

other week: Ms. Canaan could come to class for a review with Professor Bista and then leave class

before Professor Arscott came to review the other students’ work. (Id. ¶¶ 59-60). Ms. Canaan

specifically alleges that she informed Assistant Vice Provost Rosemeyer that Professor Issaias had

retaliated against her, particularly in the grade she received, but after a week Rosemeyer indicated

only that Ms. Canaan could appeal her grade or she could be connected to campus emotional

support. (Id. ¶¶ 64-65). 19

        Drawing all reasonable inferences that can be drawn from the Complaint in Ms. Canaan’s

favor, the Court is satisfied that she notified Assistant Vice Provost Rosemeyer of alleged retaliatory


19
         The Complaint is not totally clear with respect to whether Ms. Canaan reported that Professor Bista
retaliated against her: Ms. Canaan alleges that she “emailed Rosemeyer, and copied Heading-Grant and
Casalegno, asking for an update on Arscott and explained that she was having to miss studio class to avoid
Arscott.” (Docket No. 1, ¶ 66). She further alleges that Dean Casalegno responded expressing concern, but
not taking any other action. (Id.). Whether the Court, based on these averments, ought to draw an inference
in Ms. Canaan’s favor that she gave administrators notice of retaliation perpetrated by Professor Bista is, in
the Court’s estimation, right on the line between a reasonable inference and an inference that stretches too
far. Accordingly, the Court focuses on Professor Issaias’s alleged retaliation for the purpose of evaluating
the sufficiency of Ms. Canaan’s retaliation claim. That said, Professor Bista’s alleged conduct is nonetheless
material to Ms. Canaan’s claims.

                                                     34
      Case 2:23-cv-02107-WSH           Document 40      Filed 12/17/24     Page 35 of 43




acts. The allegation that stands out most prominently in this regard is Ms. Canaan’s allegation of

receiving a low grade because she complained to Professor Issaias about Professor Arscott and her

experience with antisemitism. Ms. Canaan notified Assistant Vice Provost Rosemeyer of that

instance of retaliation and Rosemeyer offered to send her to grade appeals without addressing Ms.

Canaan’s allegation that the low grade was believed to be retaliatory. That is, Assistant Vice

Provost Rosemeyer treated Ms. Canaan’s complaint of discriminatory retaliation like a mundane

grade appeal. In the Court’s considered judgment, those allegations adequately state a plausible

claim for retaliation in violation of Title VI. See E.N. v. Susquehanna Twp. Sch. Dist., No. 1:09-

CV-1727, 2010 WL 4853700, at *18 (M.D. Pa. Nov. 23, 2010) (finding a Title IX retaliation claim

was adequately alleged where a student and her mother asked the principal to protect her after she

reported sexual assault, but the principal “placed sole responsibility on E.N. to leave anxiety-

causing situations”). Of course, the Court’s forgoing assessment of Ms. Canaan’s claim is merely

an assessment of whether Ms. Canaan has averred enough to state a claim for retaliation, and

discovery may show that Assistant Vice Provost Rosemeyer acted appropriately in response to Ms.

Canaan’s allegations of retaliation.

       D.      Breach of Contract

       At Count IV, Ms. Canaan alleges that CMU breached its contractual obligations set forth in

its Statement of Assurance, Policy Against Retaliation, Title IX Resource Guide, and Procedures.

(Docket No. 1, ¶¶ 141-155). CMU seeks to dismiss this claim contending that: Ms. Canaan did not

trigger coverage under the Procedures because she merely reported a “concern” and did not file a

formal complaint; the Title IX Resource Guide does not specifically apply to her circumstances

because it expressly addresses allegations of sexual misconduct and Ms. Canaan was alleging non-

sexual discrimination; and the Statement of Assurance and Policy Against Retaliation are not


                                               35
      Case 2:23-cv-02107-WSH            Document 40        Filed 12/17/24      Page 36 of 43




legally enforceable promises because they lack specific, identifiable promises capable of being

measured and enforced in contract.

       “Under Pennsylvania law, the relationship between a private university and a student is

contractual, the contract being ‘comprised of the written guidelines, policies, and procedures as

contained in the written materials distributed to the student over the course of his or her enrollment

in the institution,’” David v. Neumann Univ., 187 F. Supp. 3d 554, 558 (E.D. Pa. 2016) (quoting

Swartley v. Hoffner, 734 A.2d 915, 919 (Pa. Super. Ct. 1999)); Bardelli v. Allied Servs. Inst. of

Rehab. Med., No. CV 3:14-0691, 2016 WL 5723724, at *12 (M.D. Pa. Sept. 30, 2016). Every such

contract “imposes on each party a duty of good faith and fair dealing in its performance and its

enforcement,” Neumann Univ., 187 F. Supp. 3d at 561-62 (quoting Kaplan v. Cablevision of PA,

Inc., 671 A.2d 716, 722 (Pa. Super. Ct. 1996)), an obligation that is “tied specifically to and is not

separate from” the parties’ express contractual duties. Id. (quoting Murphy v. Duquesne Univ. of

the Holy Ghost, 777 A.2d 418, 434 n.11 (Pa. 2001)). “[T]hree elements are necessary to plead a

cause of action for breach of contract: (1) the existence of a contract, including its essential terms,

(2) a breach of the contract; and, (3) resultant damages.” Meyer, Darragh, Buckler, Bebenek &

Eck, P.L.L.C. v. L. Firm of Malone Middleman, P.C., 137 A.3d 1247, 1258 (Pa. 2016).

       Because the relationship between a student and his or her educational institution is

contractual in nature, “a student can bring a cause of action against [an] institution for breach of

contract where the institution ignores or violates portions of the written contract.” Swartley, 734

A.2d at 919. To adequately allege breach of contract against an educational institution, a student

must allege the nonperformance of a specific contractual promise and not a generalized failure to

meet a student’s expectations. Cavaliere v. Duff’s Bus. Inst., 605 A.2d 397, 404 (Pa. Super. Ct.

1992) (explaining that a breach of contract claim would likely be viable where an institution fails



                                                  36
      Case 2:23-cv-02107-WSH             Document 40        Filed 12/17/24       Page 37 of 43




to offer advertised curriculum or where it has asserted that it is accredited or licensed to give a

certain degree when it is not, but not for a generalized cause of action for educational malpractice

where a student claims “that the instruction and instructors provided by the [institution] were

generally inadequate and of low quality” whether framed in contract or tort); Figueroa v. Point

Park University, 553 F. Supp. 3d 259, 273–74 (W.D. Pa. 2021).

        Ms. Canaan alleges that CMU breached its promise in its Statement of Assurance that it

does not discriminate on the basis of, inter alia, national origin, religion, or ancestry; its promise in

its Policy Against Retaliation that its policy is to “protect from retaliation any individual who makes

a good faith report of a suspected violation of any applicable law or regulation, [or] university

Policy or procedure”; and its promise in its Title IX Resource Guide that it will “review and

document” reports of discrimination and provide certain supportive measures to the impacted party.

(Docket No. 1, ¶¶ 76-79). Ms. Canaan further alleges that CMU violated its internal procedures

by, inter alia, not allowing Ms. Canaan to “choose what happens next” upon making a report to the

Title IX office despite what CMU’s website says and not providing the type of investigation that is

guaranteed under CMU’s Procedures for alleged violations of its Statement of Assurance. (Id. at

¶¶ 83-86).

        CMU argues that Ms. Canaan’s factual averments do not add up to a plausibly alleged

breach of contract claim. CMU contends that only its Title IX Resource Guide and Procedures

articulate specific and identifiable promises that it could have failed to honor if Ms. Canaan’s

factual averments are to be believed. (Docket No. 20 at 18, n.10). And, with respect to the Title

IX Resource Guide and Procedures, CMU further contends that the former only applies to instances

of sex discrimination and the latter guarantees specific procedures only once a formal complaint is

filed. (Id. at 19-20). The Court first addresses CMU’s argument that only its Title IX Resource



                                                   37
      Case 2:23-cv-02107-WSH           Document 40        Filed 12/17/24      Page 38 of 43




Guide and Procedures articulate specific and identifiable promises, but that its Statement of

Assurance and Policy Against Retaliation do not. CMU argues that these two latter documents

contain only “brief, general statements of anti-discriminatory and anti-retaliatory policy that do not

set forth specific identifiable promises that are capable of being measured or enforced in contract.”

(Docket No. 33 at 10-11). In support of its argument, CMU lists in an accompanying footnote

several cases generally supporting its proposition that aspirational anti-discrimination policies are

not the type of policies that will support a breach of contract action. (Id. at n.5). Indeed, any suit

for breach of such a contract must identify a “specific” promise or “promises on which to base a

cause of action,” Vurimindi v. Fuqua Sch. of Bus., 435 F. App’x 129, 133 (3d Cir. 2011), and non-

discrimination policies are often—but not always—too aspirational and general to be actionable.

See, e.g., id. at 133-34 (“The general anti-harassment policy that Vurimindi described did no more

than present Duke’s view that harassment is unacceptable because it is inconsistent with its stated

commitment to excellence. Vurimindi cited no promises that Duke made regarding how he would

be received by the other students or professors.”); Neumann Univ., 187 F. Supp. 3d at 559 (“It

cannot be said that a school’s anti-discrimination or anti-harassment policy constitutes an

enforceable contract per se between the university and the student. Specifically, like all other

contracts, the terms of the agreement must be ‘sufficiently definite to be enforced.’” (quoting

Reynolds v. Univ. of Pa., 747 F. Supp. 2d 522, 542 (E.D. Pa. 2010))). So, the Court’s inquiry here

is to discern whether CMU’s policies contain specific and identifiable promises worthy of

contractual enforcement or are more akin to ubiquitous policies in higher education that signal

virtuous aspirations but are unworthy of contractual reliance by their students for lacking “any sort

of affirmative, enforceable duty on the part of the [institution].” Neumann Univ., 187 F. Supp. 3d

at 560.



                                                 38
      Case 2:23-cv-02107-WSH            Document 40        Filed 12/17/24      Page 39 of 43




       With respect to the Statement of Assurance, Ms. Canaan alleges that CMU promises therein

that it “does not discriminate” on the basis of, inter alia, national origin, religion, or ancestry.

(Docket No. 1, ¶ 76). And with respect to the Policy Against Retaliation, Ms. Canaan alleges that

CMU promises to protect any individual who makes a good faith report of a suspected violation of

applicable law, policies, etc., from retaliation, and promises that “faculty, staff, and students shall

not in any way intimidate, reprimand or take retaliatory action against any individual who makes a

good faith report of a suspected violation.” (Id. ¶ 77). The Policy Against Retaliation further

indicates that those who “violate this policy shall be subject to appropriate disciplinary action.”

(Id.). The Court agrees that Ms. Canaan cannot premise her breach of contract claim solely upon

the Statement of Assurance when read alone and independent of the Procedures for alleged

violations thereof. The Statement of Assurance falls alongside those policies that have been deemed

to be aspirational and non-specific such that they cannot support a breach of contract claim.

However, the Policy Against Retaliation is not merely aspirational; rather, this policy promises that

CMU’s faculty, staff, and students who violate the policy will be subject to appropriate disciplinary

action, and a reasonable inference from Ms. Canaan’s complaint is that Professor Issaias, among

others, was never subject to disciplinary action for his retaliation.

       The Court next considers the Title IX Resource Guide and the Procedures. CMU argues

that the Title IX Resource Guide made no promises to students such as Ms. Canaan because it only

pertains to sex discrimination, but CMU ignores allegations in Ms. Canaan’s Complaint that she

was informed by Vice Provost Heading-Grant that she should speak with the Office for Institutional

Equity and Title IX, and Ms. Canaan dealt with the Title IX Coordinator, Assistant Vice Provost

Rosemeyer, on an ongoing basis thereafter. Those allegations, and Ms. Canaan’s allegation that

the Title IX Office accepts complaints of sexual misconduct and “other types of discrimination,” is



                                                  39
     Case 2:23-cv-02107-WSH            Document 40       Filed 12/17/24      Page 40 of 43




enough—at least at this phase of litigation where all reasonable inferences must be drawn in Ms.

Canaan’s favor—to raise an inference that the promises and procedures in the Title IX Resource

Guide applied to Ms. Canaan and her allegations of discrimination.

       With respect to the Procedures for alleged violations of the Statement of Assurance, CMU

argues that the Procedures were not triggered because Ms. Canaan never filed a formal complaint

to set off the processes afforded by the Procedures. The Court finds that argument unavailing

insofar as Ms. Canaan alleges that CMU violated the Procedures by discouraging her from filing a

formal complaint when CMU received a report of discrimination despite the Procedures outlining

that the Office for Institutional Equity and Title IX “may decide ‘to initiate a formal complaint.’”

(Docket No. 1 at 23). Likewise, Ms. Canaan alleged that CMU violated its Procedures when it

discouraged her from filing a formal complaint despite the Procedures’ promise that upon receiving

a report of discrimination that could violate the Statement of Assurance or other policy, “the

university, in its discretion, will determine which policy or policies and procedures apply and

whether action will be taken under multiple policies.” (Id.). Those promises are not contingent

upon the filing of a formal complaint. There is, however, a problem with Ms. Canaan’s allegations

that CMU breached the Procedures: the discretion CMU reserves to itself in those supposed

guarantees makes them too indefinite to be enforced. Neumann Univ., 187 F. Supp. 3d at 560. A

breach of contract claim cannot be supported by CMU’s promise in the Procedures of what it “may

decide” to do, or what policies and procedures it will apply “in its discretion.” (Docket No. 1,

¶¶ 83). Therefore, no breach of contract claim lies based on the indefinite if not illusory promises

contained in the Procedures, but, as stated above, Ms. Canaan may pursue her breach of contract

claim with respect to specific promises in the Title IX Resource Guide and the Policy Against

Retaliation. Additionally, while the Procedures lack the requisite definiteness for a stand-alone



                                                40
      Case 2:23-cv-02107-WSH            Document 40       Filed 12/17/24      Page 41 of 43




breach of contract claim, the Procedures may nevertheless provide evidentiary context relevant to

Ms. Canaan’s plausible breach of contract claims where, as the Pennsylvania Superior Court

explained in Swartley, a “contract between a private institution and a student is comprised of the

written guidelines, policies, and procedures as contained in the written materials distributed to the

student over the course of their enrollment in the institution.” 734 A.2d at 919 (emphasis added).

       E.      Intentional Infliction of Emotional Distress

       Finally, CMU argues that Ms. Canaan fails to state a claim for intentional infliction of

emotional distress (“IIED”) because she has alleged neither (a) extreme and outrageous conduct,

nor (b) CMU’s vicarious liability under the theory of respondeat superior. Because the Court

agrees that Ms. Canaan has not adequately alleged respondeat superior liability, the Court will

grant CMU’s motion with respect to Ms. Canaan’s IIED claim and will order that claim be

dismissed without prejudice to amendment.

       Under Pennsylvania law, a plaintiff who pursues an IIED claim must establish that the

defendant’s conduct was: “(1) extreme and outrageous; (2) intentional or reckless; and (3) caused

severe emotional distress.” Hitchens v. Cnty. of Montgomery, No. CIV.A. 00-4282, 2002 WL

253939, at *10 (E.D. Pa. Feb. 20, 2002) (citing Wisniewski v. Johns Manville Corp., 812 F.2d 81,

85 (3d Cir. 1987)). To be sufficiently “outrageous,” the alleged wrongful conduct “must be so

outrageous in character, and so extreme in degree, as to go beyond all possible bounds of decency,

and to be regarded as atrocious, and utterly intolerable in a civilized society.” Hoy v. Angelone,

720 A.2d 745, 754 (Pa. 1998) (quoting Buczek v. First National Bank of Mifflintown, 531 A.2d

1122, 1125 (Pa. Super. Ct. 1987)). “[O]nly the most egregious conduct” supports a cause of action

for intentional infliction of emotional distress. Id.




                                                  41
      Case 2:23-cv-02107-WSH             Document 40        Filed 12/17/24       Page 42 of 43




       Ms. Canaan argues that the allegations in her Complaint support a claim for IIED, i.e., that

CMU “intentionally and/or recklessly subjected her to severe emotional distress manifesting in

significant physical injuries by purposefully evading their legal obligation to take prompt and

effective steps reasonably calculated to end the harassment, eliminate any hostile environment …,

and prevent the harassment from recurring.” (Docket No. 1, ¶ 158). Ms. Canaan alleges that

Professor Arscott intentionally subjected her to emotional distress through purposeful

discrimination, that she did so as a CMU employee, that CMU took no corrective action, and that,

as a result of Professor Arscott’s behavior, Ms. Canaan suffered—among other things—debilitating

and nausea-inducing migraines, depression, isolation, and anxiety. (Id. ¶¶ 159-62). Ms. Canaan

argues that Professor Arscott and the University’s conduct falls into that most extreme category of

cases that can be called “extreme and outrageous,” likening her case to Stilley v. Univ. of Pittsburgh

of Com. Sys. of Higher Educ., wherein a professor not only “made suggestive innuendoes and

touched [the plaintiff] inappropriately on a number of occasions, but … continue[d] to retaliate

against [the plaintiff] for declining his advances.” 968 F. Supp. 252, 260 (W.D. Pa. 1996).

       Even assuming that Ms. Canaan’s allegations show sufficient extreme and outrageous

conduct, the Court agrees with the second objection CMU has raised to Ms. Canaan’s IIED claim:

the vicarious liability issue. Ms. Canaan, of course, has not sued Professor Arscott individually,

and to state a claim against CMU premised upon Professor Arscott’s conduct, Ms. Canaan “must

allege facts showing that [Professor Arscott’s] conduct ‘is of a kind and nature that the employee

is employed to perform; ... occurs substantially within the authorized time and space limits; ... is

actuated, at least in part, by a purpose to serve the employer; and ... if force is intentionally used by

the employee against another, the use of force is not unexpected by the employer.’” McClain v.

Citizen’s Bank, N.A., 57 F. Supp. 3d 438, 441 (E.D. Pa. 2014) (quoting Costa v. Roxborough



                                                   42
       Case 2:23-cv-02107-WSH              Document 40          Filed 12/17/24        Page 43 of 43




Memorial Hosp., 708 A.2d 490, 493 (Pa. Super. Ct. 1998)). The Court cannot find an averment in

Ms. Canaan’s Complaint that would allow it to infer that the alleged extreme and outrageous

conduct she endured—predominantly by Professor Arscott—was “actuated, at least in part, by a

purpose to serve the employer.” McClain, 57 F. Supp. 3d at 441. 20 For that reason, the Court will

dismiss Ms. Canaan’s IIED claim, albeit without prejudice to amendment should she seek to cure

the deficiency addressed herein.

     IV.       CONCLUSION

     For all the foregoing reasons, CMU’s motion to dismiss Ms. Canaan’s Complaint is granted in

part and denied in part. The motion is granted insofar as Ms. Canaan’s IIED claim is dismissed

without prejudice pursuant to Rule 12(b)(6), but denied with respect to all other claims. Ms. Canaan

will be afforded time to amend the claim that the Court has dismissed, after which time any failure

to file an amended complaint will result in the dismissal with prejudice of that claim. An Order

consistent with this Memorandum Opinion follows.

                                                                            /s/ W. Scott Hardy
                                                                            W. Scott Hardy
                                                                            United States District Judge

     Dated:      December 17, 2024

     cc/ecf:     All counsel of record




20
         Though the Court accepts as true Ms. Canaan’s allegation that CMU has substantial ties to Qatar
that disincentivize it to protect Jewish students like her from discrimination, that averment alone does not
support an inference that the most outrageous comments in question—Professor Arscott’s May 2022
comments—were comments Professor Arscott made in service of her employer. As discussed at length
above, the Court is satisfied that Ms. Canaan has alleged at least deliberate indifference by CMU
decisionmakers for purposes of her Title VI claims, but the allegations do not presently go so far as to support
a respondeat superior theory of liability for Ms. Canaan’s IIED claim.

                                                      43
